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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

STEPHEN-PHILBERT RENAUD,

                                 Petitioner,
                                                                  20-CV-9248 (CM)
                     -against-
                                                                 CIVIL JUDGMENT
DONALD TRUMP, et al.,

                                 Respondents.

         Pursuant to the order issued January 28, 2021, dismissing the petition,

         IT IS ORDERED, ADJUDGED AND DECREED that the petition is dismissed under 28

U.S.C. § 1915(e)(2)(B)(i).

         The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Court’s

judgment would not be taken in good faith.

         IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this judgment to

Plaintiff and note service on the docket.

SO ORDERED.

Dated:     January 28, 2021
           New York, New York

                                                           COLLEEN McMAHON
                                                       Chief United States District Judge
